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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK; STATE OF
 CALIFORNIA; STATE OF ILLINOIS; STATE OF
 RHODE ISLAND; STATE OF NEW JERSEY;
 COMMONWEALTH OF MASSACHUSETTS;
 STATE OF ARIZONA; STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF               C.A. No. 1:25-cv-00039-JJM-PAS
 DELAWARE; THE DISTRICT OF COLUMBIA;
 STATE OF HAWAI’I; STATE OF MAINE; STATE
 OF MARYLAND; STATE OF MICHIGAN; STATE
 OF MINNESOTA; STATE OF NEVADA; STATE
 OF NORTH CAROLINA; STATE OF NEW
 MEXICO; STATE OF OREGON; STATE OF
 VERMONT STATE OF WASHINGTON; STATE
 OF WISCONSIN,

       Plaintiffs,

 v.

 DONALD TRUMP, IN HIS OFFICIAL CAPACITY
 AS PRESIDENT OF THE UNITED STATES; U.S.
 OFFICE OF MANAGEMENT AND BUDGET;
 MATTHEW J. VAETH, IN HIS OFFICIAL
 CAPACITY AS ACTING DIRECTOR OF THE
 U.S. OFFICE OF MANAGEMENT AND
 BUDGET; U.S. DEPARTMENT OF THE
 TREASURY; SCOTT BESSENT, IN HIS
 OFFICIAL CAPACITY AS SECRETARY OF THE
 TREASURY; PATRICIA COLLINS IN HER
 OFFICIAL CAPACITY AS TREASURER OF THE
 U.S.; U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; DOROTHY A. FINK, M.D.,
 IN HER OFFICIAL CAPACITY AS ACTING
 SECRETARY OF HEALTH AND HUMAN
 SERVICES; U.S. DEPARTMENT OF
 EDUCATION; DENISE CARTER, IN HER
 OFFICIAL CAPACITY AS ACTING SECRETARY
 OF EDUCATION; U.S. FEDERAL EMERGENCY
 MANAGEMENT AGENCY; CAMERON
 HAMILTON, IN HIS OFFICIAL CAPACITY AS
 ACTING ADMINISTRATOR OF THE U.S.
 FEDERAL EMERGENCY MANAGEMENT

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 AGENCY; U.S. DEPARTMENT OF
 TRANSPORTATION;
 JUDITH KALETA, IN HER OFFICIAL
 CAPACITY AS ACTING SECRETARY OF
 TRANSPORTATION;
 U.S. DEPARTMENT OF LABOR; VINCE
 MICONE, IN HIS OFFICIAL CAPACITY AS
 ACTING SECRETARY OF LABOR; U.S.
 DEPARTMENT OF ENERGY; INGRID KOLB, IN
 HER OFFICIAL CAPACITY AS ACTING
 SECRETARY OF THE U.S. DEPARTMENT OF
 ENERGY; U.S. ENVIRONMENTAL
 PROTECTION AGENCY; JAMES PAYNE, IN HIS
 OFFICIAL CAPACITY AS ACTING
 ADMINISTRATOR OF THE U.S.
 ENVIRONMENTAL PROTECTION AGENCY;
 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, IN HER CAPACITY
 AS SECRETARY OF THE U.S. DEPARTMENT
 OF HOMELAND SECURITY; U.S.
 DEPARTMENT OF JUSTICE; JAMES R.
 McHENRY III, IN HIS OFFICIAL CAPACITY AS
 ACTING ATTORNEY GENERAL OF THE U.S.
 DEPARTMENT OF JUSTICE; THE NATIONAL
 SCIENCE FOUNDATION and DR.
 SETHURAMAN PANCHANATHAN, IN HIS
 CAPACITY AS DIRECTOR OF THE NATIONAL
 SCIENCE FOUNDATION,

        Defendants.


                   [PROPOSED] TEMPORARY RESTRAINING ORDER

       To maintain the status quo until the Court may rule on Plaintiffs’ forthcoming motion for

preliminary injunction, it is hereby ORDERED that a TEMPORARY RESTRAINING ORDER

is entered in this case until this Court rules upon Plaintiffs’ motion for a preliminary injunction,

which shall be filed on a date ordered by the Court.

       During the pendency of the Temporary Restraining Order, Defendants shall refrain from

pausing, freezing, impeding, blocking, canceling, or terminating Defendants’ compliance with



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awards and obligations to provide federal financial assistance, and Defendants shall not impede

Plaintiffs’ access to such awards and obligations, except on the basis of the applicable

authorizing statutes, regulations, and terms.

       To the extent Defendants engage in the “identif[ication] and review” of federal financial

assistance programs, as identified in the OMB Directive as referenced in the Complaint, such

exercise shall not effect a pause, freeze, impediment, block, cancellation, or termination of

Defendants’ compliance with such awards and obligations, except on the basis of the applicable

authorizing statutes, regulations, and terms.

       Defendants shall also be restrained and prohibited from reissuing, adopting,

implementing, or otherwise giving effect to the OMB Directive under any other name or title or

through any other Defendants (or agency supervised, administered, or controlled by any

Defendant), such as the continued implementation identified by the White House Press Secretary

statement of January 29, 2025.

       Defendants shall provide written notice of this order to all Defendants and agencies and

their employees, contractors, and grantees within two hours of the issuance of this Order.

       Defendants shall comply with all notice and procedural requirements set forth in the

award, agreement, or other instrument relating to decisions to stop, delay, or otherwise withhold

federal financial assistance programs.

       The TRO shall be in effect for 14 days from the date of this Order, and may be extended

for an additional 14 days for good cause shown.

       It is so ordered.




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                                           By the Court:
_________________                          ___________________________
Dated                                      McConnell, Chief Judge




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